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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

  GLEN EDWARD COMEAUX                                              CIVIL ACTION
  VERSUS                                                           NO. 21‐1707
  TEXAS DEPARTMENT OF                                              SECTION: AI@ (5)
  CRIMINAL JUSTICE, ET AL.


                                           ORDER

       The Court, having considered the complaint, the applicable law, the Report and

Recommendation of the United States Magistrate Judge, and the failure of any party to file an

objection to the Magistrate Judge’s Report and Recommendation, hereby approves the

Report and Recommendation of the United States Magistrate Judge and adopts it as its

opinion in this matter. Therefore,

       IT IS ORDERED that the 42 U.S.C. § 1983 complaint filed by Glen Edward Comeaux is

transferred to the United States District Court for the Western District of Texas, San Antonio

Division.

       New Orleans, Louisiana, this 18th day of October, 2021.




                                                        LANCE M. AFRICK
                                                  UNITED STATES DISTRICT JUDGE
